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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-268 (CJN)
                                              :
JEFFREY MCKELLOP,                             :
                                              :
                       Defendant.             :


        UNITED STATES’ OMNIBUS REPLY TO DEFENDANT’S OPPOSITION
                 TO THE GOVERNMENT’S MOTIONS IN LIMINE

       The United States of America moved to (1) limit the cross-examination of witnesses

regarding United States Secret Service protection at the U.S. Capitol on January 6, 2021, ECF No.

54, (2) preclude the introduction of prior good conduct under Fed. R. Evid. 401, 403, and 611(b),

ECF No. 55, and (3) preclude the defendant from raising any claim of self-defense, or, in the

alternative, require a pre-trial proffer of facts to allow the defendant to make such arguments, ECF

No. 56. The defendant opposes each of the government’s three motions in limine. ECF No. 61

(“Def.’s Self-Defense Opp’n”), ECF No. 62 (“Def.’s Character Evidence Opp’n”), ECF No. 63

(“Def.’s USSS Opp’n”).      The government now submits this omnibus reply to address the

defendant’s opposition to the motions in limine regarding United States Secret Service protocols

and self-defense claims.

                             United States Secret Service Protocols

       In the government’s motion in limine regarding United States Secret Service protocols,

the government sought to preclude the defendant from examining the witnesses regarding:

       1. Secret Service protocols related to the locations where protectees or their motorcades

           are taken at the Capitol or other government buildings when emergencies occur; and
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       2. Details about the nature of Secret Service protective details, such as the number and

           type of agents the Secret Service assigns to protectees. ECF No. 54, at 2.

Cross-examination of witnesses about extraneous matters beyond the scope of direct examination

should be excluded as irrelevant and an unnecessary intrusion into sensitive national security

matter. As the government previously argued, the movement of the Vice President, his family,

and their motorcade for their safety is relevant to whether the civil disorder adversely affected the

Secret Service’s ability to protect those individuals. However, the Secret Service’s general

protocols about relocation for safety should be excluded as irrelevant. Fed. R. Evid. 401 (defining

relevant evidence). Similarly, the details about the nature of Secret Service protective details are

irrelevant to whether the disorder adversely affected the Secret Service’s duties to protectees in

this case, or that the Capitol and its grounds were restricted at the time. Moreover, the two above-

enumerated areas implicate sensitive matters of national security. While the government is hopeful

that January 6, 2021 will be the last instance a protectee will need to be evacuated from the Capitol,

publicly disclosing such information could place information that would help capture or kill these

officials in the wrong hands.

       In his response, the defendant appears to concede the irrelevance of such information,

stating that he “does not foresee that the protocols in either of these two paragraphs would be

pertinent to his defense.” ECF No. 63, 1-2. Despite this concession, the defendant nevertheless

seeks “latitude” to question about protocols regarding specific exigencies, aside from the actual

protection of the Vice President, his family, and motorcade on January 6, 2021. The defendant

cites no basis establishing the relevance of such information to the defendant’s case. No such

“latitude” should be afforded because questions about Secret Service protocols “would be

inappropriate and immaterial to the question of guilt, or to the credibility of the Secret Service

witness.” United States v. Griffin, 21-CR-92, ECF No. 92, at 4 (D.D.C. Mar. 18, 2022) (TNM).


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Accordingly, the government’s motion in limine regarding the preclusion of certain cross-

examination regarding the United States Secret Service protocols should be granted in full.

                                       Claim of Self-Defense

       In the motion in limine regarding a self-defense claim, the government sought to preclude

the defendant from raising any claim of self-defense because the facts, as a matter of law, do not

support such a claim. ECF No. 56. In the alternative, the government requested that the defendant

provide a pre-trial proffer in order to determine whether the defendant is entitled as a matter of law

to assert self-defense. Id.

       In his opposition, the defendant contends that the cases put forth by the government “stand

for the proposition that a jury need not be burdened with testimony supporting only some of the

elements of an affirmative defense if even one element cannot be supported” but claims this

proposition is “entirely different than the relief the Government seeks, which is to force Defendant

to reveal strategies prior to trial . . . .” Def.’s Self-Defense Opp’n at 2. The defendant is incorrect.

Courts routinely recognize that a defendant must make some proffer outside the presence of the

jury in order to put forth an affirmative defense. See United States v. Lebreault-Feliz, 807 F.3d 1,

4 (1st Cir. 2015) (defendant was barred from presenting affirmative defenses of duress and

necessity to the jury after proffering evidence to the trial court (emphasis added)); United States

v. Portillo-Vega, 478 F.3d 1194, 1200 (10th Cir. 2007) (upholding the district court’s decision to

preclude the presentment of an affirmative defense, noting that “the issue is not what the jury might

have believed” but whether the defendant’s proffered evidence “carried his burden of establishing,

by a preponderance of the evidence, each element of” his defense).

       Defendant argues that Portillo-Vega is distinguishable since he “has not noticed an intent

to present an affirmative defense and has not made any motions for any jury instructions,” calling

the government’s motion “entirely premature.”          Def’s Self-Defense Opp’n at 3.         Yet, the


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government’s motion complies with the Court’s briefing schedule. Moreover, the defendant fails

to provide any sound reason for waiting until trial to determine whether evidence can be put forth

before the jury regarding a self-defense claim. To the contrary, to the extent that the defendant

anticipates referring to self-defense in an opening statement, he must provide a proffer to support

such a reference in order to avoid tainting the jury with an unsupportable defense. Accordingly,

the Government’s motion in limine regarding the preclusion of a self-defense claim should be

granted.

                                         CONCLUSION

       For the reasons stated above, and those stated in the Government’s motions in limine (ECF

Nos. 54-56), the United States requests that this court grant its three pending motions in limine in

this matter.

                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       On this 28th day of April 2022, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.


                                    By:       /s/ Maria Y. Fedor
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